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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     JOHN STOSSEL,                                      Case No. 21-cv-07385-VKD

                                   9                    Plaintiff,
                                                                                            ORDER GRANTING STIPULATION
                                                 v.                                         RE BRIEFING SCHEDULE
                                  10

                                  11     META PLATFORMS, INC., et al.,                      Re: Dkt. No. 45

                                  12                    Defendants.
Northern District of California
 United States District Court




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                                  14          Pursuant to Civil Local Rule 7-12, the parties have stipulated to the following with respect

                                  15   to plaintiff’s complaint and defendants’ responses thereto:

                                  16          1. That Defendants Science Feedback and Climate Feedback (“Feedback Defendants”)

                                  17              waive any objection to the manner in which they were or were not served with process;

                                  18          2. That the Feedback Defendants shall file their response(s) to plaintiff’s complaint by

                                  19              January 31, 2022; plaintiff shall file his opposition(s) to the Feedback Defendants’

                                  20              response(s) by February 28, 2022; and the Feedback Defendants shall file their reply

                                  21              by March 21, 2022;

                                  22          3. That the briefing schedule on defendant Meta Platforms, Inc.’s (“Meta”) motion to

                                  23              dismiss and special motion to strike shall remain as ordered in Dkt. No. 20, with

                                  24              plaintiff to file his opposition to Meta’s motion to dismiss by January 11, 2022, and

                                  25              Meta to file its reply by February 8, 2022;

                                  26          4. That all discovery is stayed as to all parties until the Court has issued an order deciding

                                  27              both Meta’s motions and the Feedback Defendants’ motion(s), except that plaintiff

                                  28              reserves the right to seek discovery on any factual issues raised by any special motion
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                                   1             to strike filed by the Feedback Defendants pursuant to California’s anti-SLAPP law.

                                   2          The Court grants the parties’ stipulated request. The Court will hold a consolidated

                                   3   hearing on Meta’s pending motions and on the Feedback Defendants’ anticipated motions on

                                   4   April 12, 2022 at 10:00 a.m.

                                   5          IT IS SO ORDERED.

                                   6   Dated: January 10, 2022

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                                                                                                  VIRGINIA K. DEMARCHI
                                   9                                                              United States Magistrate Judge
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Northern District of California
 United States District Court




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